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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   WILLIAM H. CLAFLIN, IV; et. al.,

          Plaintiffs,

          vs.                                          Case No. 1:20-cv-23787

   LAFARGEHOLCIM LTD; INVERSIONES
   IBERSUIZAS S.A.; HOLCIM TRADING SA
   (F/K/A) UNION MARITIMA INTERNACIONAL
   SA; DE RUITER OUDERLANDE B.V.; LAS
   PAILAS DE CEMENTO S.A.U.; and
   UNKNOWN SUBSIDIARY OF THE
   LAFARGEHOLCIM GROUP.

          Defendants.


                JOINT STIPULATION AND PROPOSED ORDER REGARDING
                          STAY AND TOLLING OF DEADLINES

         WHEREAS on September 11, 2020, William H. Claflin, IV; Josephine C. Horan; Patricia

  M. Claflin; Edward A. Claflin; Elaine Y. Alexander; John K. Spring, Jr.; Helen S. Montero;

  William C. Spring; Susan K. Spring; David G. Witter; Malcolm G. Witter; Dean Witter III; Helen

  C. Witter; Katharine C. Weeks; Katharine W. White; Martha W. Sinclair; John W. Weeks Jr.;

  David C. Weeks; Sinclair Weeks; Stephen D. Weeks; Robert F. Weeks; Estate of Anne C. Allen;

  Estate of Helen C. Spring; Estate of John W. Weeks; and Estate of Prentice W. Claflin

  (collectively, the “Plaintiffs”) filed a complaint (the “Complaint”) against LafargeHolcim Ltd;

  Inversiones Ibersuizas S.A.; Holcim Trading SA (F/K/A) Union Maritima Internacional SA; de

  Ruiter Ouderlande B.V.; Las Pailas de Cemento S.A.U.; and Unknown Subsidiary of the

  LafargeHolcim Group (collectively, the “Defendants”);
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             WHEREAS Defendant LafargeHolcim Ltd (“LafargeHolcim,” now known as Holcim Ltd)

  reserves all defenses or objections to the lawsuit, the court’s jurisdiction, and the venue of the

  action, but waives any objections as to the sufficiency of service;

             WHEREAS this joint stipulation will promote the efficient and orderly administration of

  justice;

             WHEREAS Plaintiffs and LafargeHolcim jointly stipulated on March 23, 2021 to extend

  LafargeHolcim’s time to respond to the Complaint until May 21, 2021;

             WHEREAS Plaintiffs and LafargeHolcim jointly stipulated on May 19, 2021 to extend

  LafargeHolcim’s time to respond to the Complaint and stay all deadlines for 5 days;

             WHEREAS Plaintiffs and LafargeHolcim participated in a mediation on April 22, 2021

  and thereafter reached an agreement in principle to settle this action on May 20, 2021;

             WHEREAS, having reached a settlement in principle, Plaintiffs and LafargeHolcim are

  working to prepare and execute a definitive settlement with the assistance of mediator Judge Layn

  R. Phillips (ret.), and those efforts remain ongoing;

             WHEREFORE the Plaintiffs and LafargeHolcim, through their undersigned counsel,

  hereby agree, stipulate, and respectfully request that the Court enter an Order as follows:

             1.     All deadlines for all parties in the litigation are stayed and tolled pending

  consummation of a definitive settlement agreement or upon such further order of the court.



                                                         Respectfully submitted,

   Dated: May 21, 2021                                   ROIG, TUTAN, ROSENBERG, MARTIN
                                                         & BELLIDO, P.A

                                               By:       /s/ David Baron_______________________
                                                         Nelson C. Bellido
                                                         44 W. Flagler Street, Suite 2100



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                                             Counsel for Plaintiffs


   Dated: May 21, 2021                       STEARNS WEAVER MILLER
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                                             P.A.

                                   By:       /s/ Grace L. Mead       __________________
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   WILLIAM H. CLAFLIN, IV; et. al.,

          Plaintiffs,

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   PAILAS DE CEMENTO S.A.U.; and
   UNKNOWN SUBSIDIARY OF THE
   LAFARGEHOLCIM GROUP.

          Defendants.


        [PROPOSED] ORDER REGARDING STAY AND TOLLING OF DEADLINES


         THIS CAUSE came before the Court upon Joint Stipulation Regarding Extension of Time

  to Respond to the Complaint of the Plaintiffs and defendant LafargeHolcim Ltd and, upon due

  consideration and for good cause shown,

         IT IS HEREBY ORDERED as follows:

         All deadlines for all parties in the litigation are stayed and tolled pending consummation

  of a definitive settlement agreement or upon such further order of the court.



   Dated: __________________, 2021.


                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 21st day of May, 2021, I electronically filed and served the

  foregoing with the Clerk of the Court by using the CM/ECF.

                                              By: /s/   Grace L. Mead_____________________
                                                        Grace L. Mead




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